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Plaintite sv P2oPEr

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF /pgHo
Logens £. PETERSON .
(full name) Case No. C V 2 3 0 D4 4 B L W
Plaintiff, (to be assigned by the Court)
IN FORMA PAUPERIS
V. APPLICATION
(nonprisoner)
Defendant(s).

I request that the Court allow me to proceed in forma pauperis in this action
because I am unable to pay the filing fee at the time of filing as a result of my poverty. I
swear or affirm, under penalty of perjury, that the following information is true and

correct to the best of my knowledge.

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AFFIDAVIT

1. For both you and your spouse, estimate the average amount of money received from

each of the following sources during the past 12 months. (Adjust any amount that was received
weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate. Use gross amounts, that
is, amounts before any deductions for taxes or otherwise. )

Income source

Employment
Self-employment

Income from real property
(such as rental income)

Interest and dividends

Gifts

Alimony

Child support
Retirement (such as social security,
pensions, annuities, insurance)

Disability (such as social security,
insurance payments)

Unemployment payments

Public-assistance
(such as welfare)

Other (specify):

Total monthly income:

2. List your employment history, most recent employer first.

Employer Address

5077_ WM.

Average monthly amount during
the past 12 months

You Spouse
$/5 7b.44 $
$ $
$ $
§ $
§ $
§ $
$ $
3 {474.00
§ $
s/1b,00 ¢
$ $
$ $
s3/L444 ¢

Amount expected next month

You Spouse
100.” 0 $
$ $
$ $
$ $
$ $
$ $
$ $
$ $
$ $
$ $
$ $
$ $
$ $

Dates of Employment Gross monthly pay

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3. List your spouse's employment history, most recent employer first.

Employer Address Dates of Employment Gross monthly pay

NA

4. How much cash do you and your spouse have? $ 19 2 7 7.
Below, state any money you and your spouse have in bank accounts or other financial

institution.
Financial institution Type of account Amount you have Amount your spouse has
4243 ApwkK COA = =Cueeeme =—s s A437.7/ ss
$ $
$ $

5. List the assets (with values) that you own or your spouse owns. (Do not list clothing and
ordinary household furnishings.)

Home ( Address and Value) Other real estate (Address and Value) Motor vehicle #1 (Value)

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On WAsHINb TD g MA Make 4 upgaD LECA

oo oo
L453, 00. Model: F000.
Motor vehicle #2 (Value) Other assets (item and Other assets (item and
value) value)
Make:
Year:
Model:

6. Does anyone owe you or your spouse money? State the person’s name and the
amount owed.

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7, On the chart below, estimate the average monthly expenses of you and your family.
Show separately the amounts paid by your spouse. Adjust any payments that are made
weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate.

Rent or home-mortgage payment (include
lot rented for mobile home)

Utilities (electricity, heating fuel, water, sewer, and telephone)

Home maintenance (repairs and upkeep)
Food

Clothing

Laundry and dry-cleaning

Medical and dental expenses

Transportation (not including motor vehicle payments)

Recreation, Oh ment, WEDNET: magazines, etc.

ty. © INTERNET

Insurance (not deducte WIE wages or included in Mortgage payments)

Homeowner's or renter's
Life

Health

Motor Vehicle

Other:

Taxes (not deducted from wages or included in Mortgage payments)

(specify):

Car payment (creditor) fv) B Dur 0 FAN Ee

Credit card (name):

Credit card (name):

Department store (name):

Other: - Howe

You

Your Spouse

$
$

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Alimony, maintenance, and support paid to others $
Regular expenses for operation of business, profession, or farm (attach $
detailed statement)

Other (specify): $

Total monthly expenses:$ 23 p 4 $$ $

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8. State the persons who rely on you or your spouse for support.

Name Relationship Age

MA

9. Do you expect any major changes to your monthly income or expenses or in your
assets or liabilities during the next 12 months? (es No (circle one)

If yes, describe: { - Se, lyhkK~ OWL’
Ls b

10. Have you paid, or will you be paying, an attorney, paralegal, document preparation
service, or anyone else any oo fe for services in connection with this case, including the

completion of this form? Yes ( (circle one) If yes, how much? $

If yes, state the attorney’s or person’s name, address, and telephone number:

11. Provide any other information that will help explain why you cannot pay the filing
fee. If you live with someone who | is not your spouse, ey how much they contrjbute.

12. Age: 64 Years of schooling: / 4

I swear or affirm under penalty of perjury that, because of my poverty, I cannot
prepay the filing fee in my case. I believe I am entitled to redress for the reasons set forth
in my complaint. I swear or affirm under penalty of perjury under the laws of the United
States of America that my answers on this form are true and correct. (See 28 U.S.C.

§ 1746 and 18 U.S.C. § 1621.)
Executed this 0" day of Noven RE? , 20 4 3.
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Plaintiff

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